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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

                                                    :
 UNITED STATES OF AMERICA,                          :
                                                    :
                        v.                          :        ORDER
                                                    :
 GHENET MARU MESFUN and JOSEPH Y.                   :        Crim. No. 05-858 (WHW)
 MESFUN,                                            :
                                                    :
                                Defendants.         :
                                                    :


Walls, Senior District Judge

       It is on this 9th day of June, 2008,

       ORDERED sua sponte that Stephen Turano, Esq. be appointed as counsel for Defendant

Ghenet Maru Mesfun pursuant to the Criminal Justice Act based on the Court’s findings as to

Defendant’s competency to stand trial and representations regarding Defendant’s ability to pay

her attorney’s fees. If in the future Defendant has funds sufficient to pay her attorney’s fees,

Defendant shall reimburse the United States of America for any payments made to Stephen

Turano, Esq. pursuant to the Criminal Justice Act; and

       ORDERED that a hearing pursuant to Sell v. United States, 539 U.S. 166 (2003), to

resolve the United States of America’s motion for order authorizing involuntary medication for

purpose of restoration of competency to stand trial (No. 57) will be held on Thursday, June 19,

2008, at 10:00 a.m.

                                                                 s/William H. Walls
                                                                 United States Senior District Judge
